             Case 2:18-cv-04282-AB Document 17 Filed 03/19/19 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    ANDREA PESACOV,                                 :
              Plaintiff,                            :         CIVIL ACTION
                                                    :         No. 18-4282
             v.                                     :
    CUSHMAN & WAKEFIELD OF                          :
    PENNSYLVANIA, INC.,
             Defendant.                             :


                                               ORDER

          AND NOW, this __19th _ day of March 2019, as stated on the record during the

conference held on March 19, 2019:

      •   It is ORDERED that Plaintiff’s Motion for Leave to Amend Complaint (ECF No. 14) is

          DENIED.

      •   Plaintiff has voluntarily withdrawn Counts II, IV, V, VI, VII, an VIII.1

                                                s/Anita B. Brody

                                                ______________________
                                                ANITA B. BRODY, J.




1
 Accordingly, the only remaining counts are: Count I (Violations of Title VII – Retaliation);
Count III (Violations of Philadelphia Fair Practices Ordinance – Retaliation; and Count IX
(Breach of Contract).
                                                   1
